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                                        United States District Court
                                        Central District of California

                                                            AMENDED 7/27/2018


UNITED STATES OF AMERICA vs.                                                Docket No.             SACR16-00014-JLS-1

Defendant         Linda Martin                                              Social Security No. 3           5    3     2

akas: Linda J. Ashlocke                                                     (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH   DAY     YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.         07      13      2018


 COUNSEL                                                                  Anne Hwang, DFPD
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                       18 U.S.C. § 371: Conspiracy
JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution pursuant to 18 U.S.C. § 3663A. Pursuant to 18 U.S.C. § 3664(d)(5),
a final determination of the victim's losses will be ordered at a deferred restitution hearing after such information
becomes available. An amended judgment will be entered after such determination.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that she is
unable to pay and is not likely to become able to pay any fine.

The Court has entered a money judgment of forfeiture against the defendant, which is hereby incorporated by reference
into this judgment and is final.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Linda Jeanette
Martin, is hereby committed on the Single-Count Information to a home detention program for a period of 6 months, as
a condition of her pretrial release pending self-surrender, which may include electronic monitoring, GPS, Alcohol
Monitoring Unit or automated identification systems and shall observe all rules of such program, as directed by the
Pretrial Services Officer. The defendant shall maintain a residential telephone line without devices and/or services that
may interrupt operation of the monitoring equipment. The defendant shall pay the costs of Location Monitoring to the
contract vendor, not to exceed the sum of $12.00 for each day of participation. The defendant shall provide payment
and proof of payment as instructed. Following the period of home detention, the defendant is committed to the custody
of the Bureau of Prisons for a term of 6 months.

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Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3 years under the
following terms and conditions:

      1. The defendant shall comply with the rules and regulations of the United States Probation Office, General Order
         05-02, with the exception of Standard Conditions 5,6, and 4 of that order, and General Order 01-05, including
         the three special conditions delineated in General Order 01-05.

      2. During the period of community supervision, the defendant shall pay the special assessment and restitution in
         accordance with this judgment's orders pertaining to such payment.

      3. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business involving
         workers’ compensation programs or any other business involving the billing of insurance companies or
         government funded programs for medical services without the express approval of the Probation Officer prior to
         engagement in such employment. Further, the defendant shall provide the Probation Officer with access to any
         and all business records, client lists and other records pertaining to the operation of any business owned or
         controlled, in whole or in part, by the defendant, as directed by the Probation Officer.

      4. The defendant shall apply all monies received from income tax refunds to the outstanding court-ordered
         financial obligation. In addition, the defendant shall apply all monies received from lottery winnings,
         inheritance, judgments and any anticipated or unexpected financial gains to the outstanding court-ordered
         financial obligation.

      5. The defendant shall cooperate in the collection of a DNA sample from the defendant.

      6. As directed by the probation officer, the defendant shall notify specific persons and organizations of specific
         risks and shall permit the probation officer to confirm the defendant’s compliance with such requirement and to
         make such notifications.

It is further ordered that the defendant surrender herself to the institution designated by the Bureau of Prisons on or
before 12 noon, on February 11, 2019. In the absence of such designation, the defendant shall report on or before the
same date and time to the United States Court House, 411 West Fourth Street, Santa Ana, California 92701-4516.

Defendant is informed of the right to appeal.

It is ordered that the bond is exonerated upon surrender and not before, with pretrial services conditions to remain in
effect.


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In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           July 27, 2018
           Date                                                           U. S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                          Clerk, U.S. District Court




           July 27, 2018                                           By     G. Garcia
           Filed Date                                                     Deputy Clerk



The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant shall not commit another Federal, state or local                10.   the defendant shall not associate with any persons engaged in
       crime;                                                                              criminal activity, and shall not associate with any person
2.   the defendant shall not leave the judicial district without the written               convicted of a felony unless granted permission to do so by the
       permission of the court or probation officer;                                       probation officer;
3.   the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at
       court or probation officer and shall submit a truthful and complete                 any time at home or elsewhere and shall permit confiscation of
       written report within the first five days of each month;                            any contraband observed in plain view by the probation officer;
4.   the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
5.   the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an
       family responsibilities;                                                            informer or a special agent of a law enforcement agency without
6.   the defendant shall work regularly at a lawful occupation unless                      the permission of the court;
       excused by the probation officer for schooling, training, or other          14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s
7.   the defendant shall notify the probation officer at least 10 days prior               criminal record or personal history or characteristics, and shall
       to any change in residence or employment;                                           permit the probation officer to make such notifications and to
8.   the defendant shall refrain from excessive use of alcohol and shall                   conform the defendant’s compliance with such notification
       not purchase, possess, use, distribute, or administer any narcotic                  requirement;
       or other controlled substance, or any paraphernalia related to such         15.   the defendant shall, upon release from any period of custody, report
       substances, except as prescribed by a physician;                                    to the probation officer within 72 hours;
9.   the defendant shall not frequent places where controlled substances           16.   and, for felony cases only: not possess a firearm, destructive device,
       are illegally sold, used, distributed or administered;                              or any other dangerous weapon.




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 X The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
not applicable for offenses completed prior to April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

         The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
§3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or
the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for
probation 18 U.S.C. §3563(a)(7).

          Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, shall be disclosed to the Probation Officer upon request.

        The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date



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